Case: 1:17-cv-03591 Document #: 169 Filed: 05/08/19 Page 1 of 1 PageID #:3140

                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.2
                               Eastern Division

Stanley Boim, et al.
                                         Plaintiff,
v.                                                    Case No.: 1:17−cv−03591
                                                      Honorable Sharon Johnson Coleman
American Muslims for Palestine, et al.
                                         Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Wednesday, May 8, 2019:


        MINUTE entry before the Honorable Sidney I. Schenkier: ENTER ORDER.
Plaintiffs' motion to remove confidentiality designations (doc. ## [156]−[157]) is granted.
Mailed notice(lp, )




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